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1    Taras Kick, CA Bar No. 143379
     Taras@kicklawfirm.com
2    Jeffrey C. Bils, CA Bar No. 301629
     Jeff@kicklawfirm.com
3    THE KICK LAW FIRM, APC
     815 Moraga Drive
4    Los Angeles, California 90049
     Tel: (310) 395-2988 Fax: (310) 395-2088
5
     Kevin P. Roddy, CA Bar No. 128283
6    kroddy@wilentz.com
7
     WILENTZ, GOLDMAN & SPITZER, P.A.
     90 Woodbridge Center Drive, Suite 900
8    Woodbridge, NJ 07095
     Tel: (732) 636-8000 Fax: (732) 726-6686
9
     Jeffrey D. Kaliel, CA Bar No. 238293
10   jkaliel@kalielpllc.com
     KALIEL PLLC
11   1875 Connecticut Ave. NW 10th Floor
     Washington, D.C. 20009
12   Telephone: (202) 350-4783 Fax: (202) 871-8180
13   Attorneys for Plaintiff
14   Sylvia Varga and the Putative Class
15
                          UNITED STATES DISTRICT COURT
16
                        CENTRAL DISTRICT OF CALIFORNIA
17

18   SYLVIA VARGA, individually, and on           CASE NO.: 2:20-cv-04380-DSF-KS
     behalf of all others similarly situated,     CLASS ACTION
19

20                      Plaintiffs,               FIRST AMENDED COMPLAINT
                                                  FOR
21
       v.                                         (1) Breach of Contract;
22                                                (2) Breach of the Implied Covenant of
     AMERICAN AIRLINES FEDERAL                        Good Faith and Fair Dealing;
23
     CREDIT UNION, and DOES 1-100,                (3) Money Had and Received
24                                                    and,
                        Defendants.
25                                                (4) Violation of the Unfair Competition
                                                      Laws, Bus. & Prof. Code §17200,
26                                                    et seq.
27

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1          Plaintiff Sylvia Varga (“Plaintiff”), by and through her attorneys, hereby brings
2    this class and representative action against American Airlines Federal Credit Union
3    and DOES 1 through 100 (collectively “AAFCU” or “Defendant”).
4                                NATURE OF THE ACTION
5          1.     All allegations herein are based upon information and belief except those
6    allegations which pertain to Plaintiff or her counsel. Allegations pertaining to
7    Plaintiff or her counsel are based upon, inter alia, Plaintiff’s or her counsel’s personal
8    knowledge, as well as Plaintiff’s or her counsel’s own investigation. Furthermore,
9    each allegation alleged herein either has evidentiary support or is likely to have
10   evidentiary support, after a reasonable opportunity for additional investigation or
11   discovery.
12         2.     This is a class and representative action brought by Plaintiff to assert
13   claims in her own right, and in her capacity as the class representative of all other
14   persons similarly situated, and in her capacity as a private attorney general on behalf
15   of the members of the general public. AAFCU wrongfully charged Plaintiff and the
16   Class Members fees related to their checking accounts.
17         3.     This class action seeks monetary damages, restitution, and injunctive
18   relief due to, inter alia, AAFCU’s policy and practice to maximize the fees it imposes
19   on members. The conduct has the overwhelming common denominator of breaching
20   its members’ contracts and violating laws so as to maximize AAFCU’s fee income.
21   This conduct includes but is not limited to, assessing an overdraft fee or NSF fee on
22   transactions when by Defendant’s own calculations there was enough available
23   money in the checking account to cover the transaction at issue when authorized and
24   the money was specifically sequestered for that transaction but would be assessed an
25   overdraft fee anyway; imposing more than one NSF fee, or an NSF fee followed by
26   overdraft fee, on the same electronic item or check; charging its members for
27   transferring money from the savings account to the checking account when there was
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1    no negative balance, or should not have been a negative balance, to avoid in the
2    checking account; violating its own Funds Availability Policy (“FAP”) in a manner
3    which increased fees imposed on members; and, charging for fees not authorized or
4    appropriately disclosed. The charging of such fees breaches AAFCU’s contracts with
5    its members, who include Plaintiff and the members of the Class.
6                                           PARTIES
7             4.   Plaintiff Sylvia Varga is a resident of Marina del Rey, California and had
8    a checking account with AAFCU at all times relevant to the class action allegations.
9             5.   Based on information and belief, Defendant AAFCU is and has been a
10   federally chartered credit union with its headquarters located in Fort Worth, Texas.
11   AAFCU has assets of more than $7.7 billion, over 310,000 members, and 47
12   branches in 13 states and the District of Columbia.
13            6.   Without limitation, defendants DOES 1 through 100, include agents,
14   partners, joint ventures, subsidiaries and/or affiliates of AAFCU and, upon
15   information and belief, also own and/or operate AAFCU branch locations. As used
16   herein, where appropriate, the term “AAFCU” is also inclusive of Defendants DOES
17   1 through 100.
18            7.   Plaintiff is unaware of the true names of defendants DOES 1 through
19   100. Defendants DOES 1 through 100 are thus sued by fictitious names, and the
20   pleadings will be amended as necessary to obtain relief against defendants DOES 1
21   through 100 when the true names are ascertained, or as permitted by law or by the
22   Court.
23            8.   There exists, and at all times herein mentioned existed, a unity of interest
24   and ownership between the named defendants (including DOES) such that any
25   corporate individuality and separateness between the named defendants has ceased,
26   and that the named defendants are alter egos in that the named defendants effectively
27   operate as a single enterprise, or are mere instrumentalities of one another.
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1          9.       At all material times herein, each defendant was the agent, servant, co-
2    conspirator and/or employer of each of the remaining defendants, acted within the
3    purpose, scope, and course of said agency, service, conspiracy and/or employment
4    and with the express and/or implied knowledge, permission, and consent of the
5    remaining defendants, and ratified and approved the acts of the other defendants.
6    However, each of these allegations are deemed alternative theories whenever not
7    doing so would result in a contradiction with the other allegations.
8          10.      Whenever reference is made in this First Amended Complaint
9    (“Complaint”) to any act, deed, or conduct of Defendant, the allegation means that
10   Defendant engaged in the act, deed, or conduct by or through one or more of its
11   officers, directors, agents, employees, or representatives who was actively engaged in
12   the management, direction, control, or transaction of Defendant’s ordinary business
13   and affairs.
14         11.      As to the conduct alleged herein, each act was authorized, ratified or
15   directed by Defendant’s officers, directors, or managing agents.
16                               VENUE AND JURISDICTION
17         12.      This Court has subject matter jurisdiction of this action pursuant to the
18   Class Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. §§ 1332(d)(2) and (6)
19   because: (i) there are 100 or more class members; (ii) there is an aggregate amount
20   in controversy exceeding $5,000,000.00 exclusive of interest and costs; and (iii)
21   there is minimal diversity because at least plaintiff and defendant are citizens of
22   different states. This Court also has supplemental jurisdiction over the state law
23   claims pursuant to 28 U.S.C. § 1367.
24         13.      Venue is proper in this District, among other reasons, pursuant to 28
25   U.S.C. § 1391(b)(2).
26   ///
27   ///
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1                              FACTUAL ALLEGATIONS
2    I.    AAFCU Charges OD Fees on Transactions that Do Not Actually
3          Overdraw the Account
4          A. Overview of Claim
5          14.    Plaintiff brings this action challenging AAFCU’s practice of charging
6    OD Fees on what are referred to in this Complaint as “Authorize Positive,
7    Purportedly Settle Negative Transactions,” or “APPSN Transactions.”
8          15.    Here’s how it works. At the moment debit card transactions are
9    authorized on an account with positive funds to cover the transaction, AAFCU
10   immediately reduces the consumer’s checking account for the amount of the
11   purchase, sets aside funds in the checking account to cover that transaction, and
12   adjusts the consumer’s displayed “available balance” to reflect that subtracted
13   amount. As a result, customers’ accounts will always have sufficient funds available
14   to cover these transactions because AAFCU has already sequestered these funds for
15   payment.
16         16.    However, AAFCU still assesses crippling $33 OD Fees on many of
17   these transactions and mispresents its practices in its account documents.
18         17.    Despite putting aside sufficient available funds for debit card
19   transactions at the time those transactions are authorized, AAFCU later assesses OD
20   Fees on those same transactions when they purportedly settle days later into a
21   negative balance. These types of transactions are APPSN Transactions.
22         18.    AAFCU maintains a running account balance, tracking funds consumers
23   have for immediate use. This running account balance is adjusted, in real-time, to
24   account for debit card transactions at the precise instance they are made. When a
25   customer makes a purchase with a debit card, AAFCU sequesters the funds needed to
26   pay the transaction, subtracting the dollar amount of the transaction from the
27

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1    customer’s available balance. Such funds are not available for any other use by the
2    account holder and are specifically associated with a given debit card transaction.
3            19.   Indeed, the entire purpose of the immediate debit and hold of positive
4    funds is to ensure that there are enough funds in the account to pay the transaction
5    when it settles:
6

7
             When a consumer uses a debit card to make a purchase, a hold may be
             placed on funds in the consumer’s account to ensure that the consumer
8            has sufficient funds in the account when the transaction is presented for
9            settlement. This is commonly referred to as a “debit hold.” During the
             time the debit hold remains in place, which may be up to three days after
10           authorization, those funds may be unavailable for the consumer’s use for
11           other transactions.

12
     Federal Reserve Board, Office of Thrift Supervision, and National Credit Union
13
     Administration, Unfair or Deceptive Acts or Practices, 74 FR 5498 (Jan. 29, 2009).
14
             20.   That means when any subsequent, intervening transactions are initiated
15
     on a checking account, they are compared against an account balance that has already
16
     been reduced to account for any earlier debit card transactions. Therefore, many
17
     subsequent transactions incur OD Fees due to the unavailability of the funds
18
     sequestered for those previously authorized debit card transactions.
19
             21.   Still, despite always reserving sufficient available funds to cover the
20
     transactions and keeping the held funds off-limits for other transactions, AAFCU
21
     improperly charges OD Fees on APPSN Transactions.
22
             22.   The Consumer Financial Protection Bureau (“CFPB”) has expressed
23
     concern with this very issue, flatly calling the practice “unfair” and/or “deceptive”
24
     when:
25

26           [A] financial institution authorized an electronic transaction, which
27           reduced a customer’s available balance but did not result in an overdraft
             at the time of authorization; settlement of a subsequent unrelated
28
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1
           transaction that further lowered the customer’s available balance and
           pushed the account into overdraft status; and when the original electronic
2          transaction was later presented for settlement, because of the intervening
3          transaction and overdraft fee, the electronic transaction also posted as an
           overdraft and an additional overdraft fee was charged. Because such fees
4          caused harm to consumers, one or more supervised entities were found to
5          have acted unfairly when they charged fees in the manner described
           above. Consumers likely had no reason to anticipate this practice, which
6          was not appropriately disclosed. They therefore could not reasonably
7          avoid incurring the overdraft fees charged. Consistent with the deception
           findings summarized above, examiners found that the failure to properly
8          disclose the practice of charging overdraft fees in these circumstances was
9          deceptive.

10         At one or more institutions, examiners found deceptive practices relating
11         to the disclosure of overdraft processing logic for electronic transactions.
           Examiners noted that these disclosures created a misimpression that the
12         institutions would not charge an overdraft fee with respect to an electronic
13         transaction if the authorization of the transaction did not push the
           customer’s available balance into overdraft status. But the institutions
14         assessed overdraft fees for electronic transactions in a manner inconsistent
15         with the overall net impression created by the disclosures. Examiners
           therefore concluded that the disclosures were misleading or likely to
16         mislead, and because such misimpressions could be material to a
17         reasonable consumer’s decision-making and actions, examiners found the
           practice to be deceptive. Furthermore, because consumers were
18         substantially injured or likely to be so injured by overdraft fees assessed
19         contrary to the overall net impression created by the disclosures (in a
           manner not outweighed by countervailing benefits to consumers or
20         competition), and because consumers could not reasonably avoid the fees
21         (given the misimpressions created by the disclosures), the practice of
           assessing the fees under these circumstances was found to be unfair.
22

23   Consumer Financial Protection Bureau, “Supervisory Highlights” (Winter 2015).
24         23.    There is no justification for these practices, other than to maximize
25   AAFCU’s OD Fee revenue. APPSN Transactions only exist because intervening
26   checking account transactions supposedly reduce an account balance. But AAFCU is
27   free to protect its interests and either reject those intervening transactions or charge
28
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1    OD Fees on those intervening transactions—and it does the latter to the tune of
2    millions of dollars each year. But AAFCU was not content with these millions in OD
3    Fees. Instead, it sought millions more in OD Fees on APPSN Transactions.
4          24.    Besides being deceptive, unfair, and unconscionable, these practices
5    breach promises made in AAFCU’s adhesion contracts, which fundamentally
6    misconstrue and mislead consumers about the true nature of AAFCU’s processes and
7    practices. AAFCU also exploits its contractual discretion by implementing these
8    practices to gouge its customers.
9          25.    In plain, clear, and simple language, AAFCU’s contract promises that
10   AAFCU will only charge OD Fees on transactions that have insufficient funds to
11   cover those transactions.
12         26.    AAFCU is not authorized to charge OD Fees on transactions that have
13   not overdrawn an account, but it has done so and continues to do so.
14         B. Mechanics of a Debit Card Transaction
15         27.    A debit card transaction occurs in two parts. First, authorization for the
16   purchase amount is instantaneously obtained by the merchant from AAFCU. When a
17   merchant or customer physically or virtually “swipes” a customer’s debit card, the
18   credit card terminal connects, via an intermediary, to AAFCU, which verifies that the
19   customer’s account is valid and that sufficient available funds exist to cover the
20   transaction amount.
21         28.    At this step, if the transaction is approved, AAFCU immediately
22   decrements the funds in a consumer’s account and sequesters funds in the amount of
23   the transaction but does not yet transfer the funds to the merchant.
24         29.    Sometime thereafter, the funds are actually transferred from the
25   customer’s account to the merchant’s account.
26         30.    AAFCU (like all banks and credit unions) decides whether to “pay”
27   debit card transactions at authorization. After that, AAFCU is obligated to pay the
28
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1    transaction no matter what. For debit card transactions, that moment of decision can
2    only occur at the point of sale, when the transaction is authorized or declined. It is at
3    that point—and only that point—that AAFCU may choose to either pay the
4    transaction or to decline it. When the time comes to actually transfer funds for the
5    transaction to the merchant, it is too late for the bank to deny payment—the bank has
6    no discretion and must pay the charge. This “must pay” rule applies industry wide.
7    See Electronic Fund Transfers, 74 Fed. Reg. 59033-01, 59046 (Nov. 17, 2009).
8          31.    There is no change—no impact whatsoever—to the available funds in an
9    account when AAFCU transfers the funds that were previously held.
10         C. AAFCU’s Account Contract
11         32.    American Airlines does not describe this APPSN procedure in its
12   contracts. Instead, on page 5 of its Account Agreement, Ex. A hereto, AAFCU states
13   as follows: “Overdrawing” your Account means that there are not sufficient available
14   funds in your Account to pay for a transaction, but we pay the transaction anyway.”
15         33.    Page 6 of the Account Agreement also expressly informs accountholders
16   that “authorization holds” are immediately placed on debit card transactions, and that
17   such holds can cause OD or NSF Fees for other, later transactions:
18

19
           Your available balance is the amount of money in your Account that is
           available to you to use without incurring an overdraft fee. The available
20         balance takes into account factors such as holds placed on deposits and pending
21         transactions (such as pending Debit card purchases) that the Credit Union has
           authorized but that have not yet posted to your Account. For example, assume
22         you have an actual balance of $50 and an available balance of $50. If you were
23         to use your Debit card at a restaurant to buy lunch for $20, then that merchant
           could ask us to pre-authorize the payment in that amount (or even a different
24         amount). Under this example, if the merchant requested preauthorization in the
25         amount of $20, we will place a “hold” on your Account for $20 (referred to as
           an “authorization hold”). Your actual balance would still be $50 because this
26         transaction has not yet posted, but your available balance would be $30
27         because of the restaurant’s preauthorization request that resulted in an
           authorization hold on $20 in your Account. When the restaurant submits its bill
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 1
           for payment (which could be a few days later and for a different amount than
           the amount of the authorization hold), we will post the transaction to your
 2         Account and your actual balance will be reduced by the amount of the posted
 3         transaction.

 4         We use your available balance to determine when your Account is overdrawn.
 5
           The following example illustrates how this works: Assume your actual and
 6         available balance are both $50, and you use your Debit card at a restaurant for
 7         $20. If the restaurant requests preauthorization in the amount of $20, an
           authorization hold is placed on $20 in your Account, so your available balance
 8         is only $30. Your actual balance would remain $50. Before the restaurant
 9         charge is sent to us for payment, a check that you wrote for $40 clears. Because
           your available balance is only $30 (due to the authorization hold of $20), your
10         Account will be overdrawn by $10, even though your actual balance is $50. In
11         this case, we may pay the $40 check, but you will be charged a Paid Non-
           Sufficient Funds Fee of $25. That fee will be deducted from your Account,
12         further increasing the overdrawn amount.
13

14
           34.   The Account Agreement also makes clear that such “authorization

15
     holds” endure until the time of posting, therefore confirming such funds cannot be

16
     consumed by other transactions:

17
           In addition, your available balance may not reflect all of your Debit card
18         transactions. For example, if a merchant obtains our prior authorization but
19         does not submit a one-time Debit card transaction for payment within three (3)
           business days of authorization, we must release the authorization hold on the
20         transaction. The available balance will not reflect this transaction once the hold
21         has been released, which generally occurs when the transaction has been
           received by us and paid from your Account. Refer to the section entitled
22         “Preauthorization Holds” in our Electronic Fund Transfers Agreement and
23         Disclosure below for information about how authorization holds affect your
           available balance.
24

25         35.   Further, the Account Agreement makes clear that overdrafts are
26   determined at the moment of authorization:
27

28         If you want the Credit Union to authorize and pay overdrafts for ATM and
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 1
           onetime Debit card transactions, you must provide us with your consent by: (1)
           visiting any branch and speaking with a Member Service Representative; (2)
 2         visiting our website at bpp.aacreditunion.org; or (3) opt-in during the online
 3         account opening process.

 4
           36.    The Electronic Funds Transfer Agreement, Ex. B hereto, also expressly
 5
     states that authorization holds are placed immediately, and such held funds are off-
 6
     limits for other transactions:
 7

 8         Preauthorization Holds: When you use your Debit Card at certain merchants
 9         such as self-service gas stations, restaurants, hotels, airlines, and rental car
           companies, the merchant may request a preauthorization hold to cover the final
10         transaction amount. When we preauthorize the transaction, we commit to make
11         the requested funds available when the transaction finally posts and as such, we
           generally place a temporary hold against some or all of the funds in the
12         Account linked to your Debit card, based on the amount of the preauthorization
13         request from the merchant. We refer to this temporary hold as a
           “preauthorization hold,” and the amount of the preauthorization hold will be
14         subtracted from your available balance as authorization requests are received
15         by us throughout each day. Until the transaction finally settles or we otherwise
           remove the hold (for example, we may remove the hold because it exceeds the
16         time permitted, as discussed below, or we determine that it is unlikely to be
17         processed), the funds subject to the hold will not be available to you for other
           purposes. At some point after you sign for the transaction, it is processed by the
18         merchant and submitted to us for payment…. You may not access funds that
19         are subject to a preauthorization hold. Preauthorization holds may remain on
           your Account for up to three (3) business days, even after the transaction has
20         been paid.
21

22         37.    Lastly, the Overdraft Disclosure, Ex. C, states, “An overdraft occurs

23   when you do not have enough money available in your checking account to cover a

24   transaction, but we pay it anyway.”

25         38.    For APPSN Transactions, which are immediately deducted from a

26   positive account balance and held aside for payment of a transaction, there are always

27   funds to cover that same transaction—yet AAFCU assesses OD Fees on it anyway.

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 1         39.    The above promises indicate that transactions are only overdraft
 2   transactions when they are authorized into a negative account balance. Of course, that
 3   is not true for APPSN Transactions.
 4         40.    In fact, AAFCU actually authorizes transactions on positive funds, sets
 5   those funds aside on hold, then fails to use those same funds to post those same
 6   transactions. Instead, it uses a secret posting process described below.
 7         41.    The above representations and contractual promises are untrue. In fact,
 8   AAFCU charges OD Fees even when sufficient funds exist to cover transactions that
 9   are authorized into a positive balance. Nothing in the Contract authorizes AAFCU to
10   impose OD Fees on APPSN Transactions.
11         42.    The Contract also misconstrues AAFCU’s true debit card processing and
12   overdraft practices.
13         43.    First, and most fundamentally, AAFCU charges OD Fees on debit card
14   transactions for which there are sufficient funds available to cover the transactions.
15         44.    AAFCU assesses OD Fees on APPSN Transactions that do have
16   sufficient funds available to cover them throughout their lifecycle.
17         45.    AAFCU’s practice of charging OD Fees even when sufficient available
18   funds exist to cover a transaction violates its contractual promise not to do so.
19         46.    Next, sufficient funds for APPSN Transactions are actually debited from
20   the account immediately, consistent with standard industry practice.
21         47.    Because these withdrawals take place upon initiation, the funds cannot
22   be re-debited later. But that is what AAFCU does when it re-debits the account
23   during a secret batch posting process.
24         48.    In reality, AAFCU’s actual practice is to assay the same debit card
25   transaction twice to determine if the transaction overdraws an account—both at the
26   time of authorization and later at the time of settlement.
27   ///
28
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 1           49.   At the time of settlement, however, an available balance does not change
 2   at all for transactions previously authorized into positive funds and for which
 3   sufficient funds were held. As such, AAFCU cannot then charge an OD Fee on these
 4   transactions because the available balance has not been rendered insufficient due to
 5   the pseudo-event of settlement.
 6           50.   Upon information and belief, something more is going on: at the
 7   moment a debit card transaction is about to settle, AAFCU does something new and
 8   unexpected during its middle of the night batch posting process. Specifically,
 9   AAFCU releases the hold placed on funds for the transaction for a split second,
10   putting money back into the account, then re-debits the same transaction a second
11   time.
12           51.   This secret step allows it to charge OD Fees on transactions that never
13   should have gotten them—transactions that were authorized into sufficient funds, and
14   for which AAFCU specifically set aside money to pay.
15           52.   This discrepancy between AAFCU’s actual practice and the Contract
16   causes consumers like Plaintiff to incur improper and unlawful OD Fees.
17           53.   In sum, there is a huge gap between AAFCU’s practices as described in
18   the account documents and AAFCU’s actual practices.
19           54.   Other banks and credit unions that employ this abusive practice disclose
20   it expressly to their account holders and require them to agree to it—something
21   AAFCU here never did.
22           55.   Indeed, recognizing the complexity of the settlement process for APPSN
23   Transactions and the fact that a fee in such circumstances is counterintuitive
24   to accountholders, financial institutions generally provide express warnings that
25   APPSN Transactions can incur OD Fees as well as explanations and examples of how
26   such fees occur.
27   ///
28
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 1         56.   For example, Bank of America’s deposit agreement states:
 2
           Debit card transactions and related authorization holds may impact your
 3         available balance. It is important to know that your available funds may
 4         change between the time you authorize a transaction and when the
           transaction is paid. . . . The amount being held is not applied to the
 5         debit card transaction. . . . If other account activity has caused the
 6         funds available in your account to drop below zero before the debit
           card transaction is paid, you may no longer have sufficient funds to
 7         pay the merchant. . . .
 8
           Here is an example of how that may happen: On Monday we authorize a
 9         debit card transaction because you have enough available funds at the
10         time. A hold is then placed on your funds until the merchant presents the
           transaction for payment. On Tuesday we process and post another
11         transaction (such as a check you wrote) that reduces your available funds
12         below zero. If the merchant presents the original debit card transaction for
           payment on Wednesday, and your available funds are now below the
13         amount needed to pay the transactions, the debit card transaction will
14         overdraw your account and you may incur an overdraft fee.

15

16   Deposit Agreement and Disclosure, Bank of America 18 (Nov. 1, 2019),
17   https://www.bankofamerica.com/deposits/resources/deposit-agreements.go (emphasis
18   added).
19         57.   As another example, Canvas Credit Union states:
20

21         Available balance at the time transactions are posted (not when they
           are authorized) may be used to determine when your account is
22         overdrawn. The following example illustrates how this works:
23
           Assume your actual and available balance are both $100, and you swipe
24         your debit card at a restaurant for $60. As a result, your available balance
25         will be reduced by $60 so your available balance is only $40. Your actual
           balance is still $100. Before the restaurants charge is sent to us for
26         posting, a check that you wrote for $50 clears. Because you have only
27         $40 available. . . . your account will be overdrawn by $10, even though
           your actual balance was $100 before the check posted. . . Also, when the
28
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 1
           $60 restaurant charge is presented to the Canvas and posted to your
           account, you will not have enough money in your available balance
 2         because of the intervening check, and you will be charged a fee for that
 3         transaction as well, even though your available balance was positive
           when it was authorized.
 4

 5
     Member Service Agreement, Part 2, Canvas Credit Union 30 (Nov. 5, 2019),
 6
     https://cdn. canvas.org/files/content/pdf/MSA_Part_2-CanvasCU-Std_Size-11-05-
 7
     19.pdf (emphases in original).
 8
           58.    Capital One’s deposit agreement similarly states:
 9

10
           Other intervening transactions that occur while authorized debit card
11         transactions are pending may create overdrafts on your account. Here
12         is an example of how that could happen:

13         You’re enrolled in our optional overdraft service. Your account balance is
14         $100.00. On Monday, you go to the store and use your debit card to make
           a purchase for $80.00. We authorize the transaction; however, the
15         merchant doesn’t send us the transaction for payment and posting to your
16         account on that day. On Tuesday, you withdraw $30.00 from an ATM,
           reducing your account balance to $70. On Wednesday, the merchant
17         requests payment for the $80.00 transaction authorized on Monday,
18         and you’re charged a fee because the balance in your account is
           insufficient to pay the transaction at that time.
19

20

21   Rules Governing Deposit Accounts, Capital One (Nov. 7, 2018),

22   https://www.capitalone.com/ bank/rules-governing/disclosures/ (emphasis added).

23         59.    AAFCU provides no such disclosure, and instead makes contractual

24   promises that deceive its account holders.

25         D. Plaintiff’s Debit Card Transactions

26         60.    As examples, on July 19, 2019, July 20, 2019, and August 7, 2019,

27   Plaintiff was assessed OD Fees on debit card transactions, despite the fact that the

28
     transactions had been authorized, prior to that day, on a sufficient available balance.
                                               -15-
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 1   II.   AAFCU CHARGES TWO OR MORE FEES ON THE SAME ITEM
 2         A.     Overview of Claim
 3         61.    As alleged more fully herein, AAFCU’s operative account documents
 4   allow it to take certain steps when a Bank accountholder attempts a transaction but does
 5   not have sufficient funds to cover it. Specifically, AAFCU may: (a) authorize the item
 6   and charge a single OD Fee; or (b) reject the item and charge a single NSF Fee.
 7         62.    In contrast to its Account Documents, however, AAFCU regularly
 8   assesses two or more fees on the same item or transaction.
 9         63.    This abusive practice is not universal in the financial services industry.
10   Indeed, major banks like Chase—the largest consumer bank in the country—do not
11   undertake the practice of charging more than one fee on the same item when it is
12   reprocessed. Instead, Chase charges one fee, even if a transaction is reprocessed for
13   payment multiple times.
14         64.    AAFCU never disclosed this practice. To the contrary, AAFCU indicated
15   it will only charge a single fee on an item or per transaction.
16         B.     Plaintiff’s Experience
17         65.    As an example, on September 5, 2019, Plaintiff attempted to make a one-
18   time payment ACH payment of $5.55 to Paypal.
19         66.    AAFCU rejected payment of that item due to insufficient funds and
20   charged Plaintiff a $25 Fee.
21         67.    Unbeknownst to Plaintiff and without its request to AAFCU to retry the
22   transaction, six later, on September 11, 2019, AAFCU processed the same item again,
23   and again rejected the transaction and again charged Plaintiff a $25 NSF Fee.
24         68.    In sum, AAFCU charged Plaintiff $50 in fees to process a single payment
25   of less than $6.
26         69.    Plaintiff understood the transaction to be a single transaction, an
27   understanding consistent with what is laid out in AAFCU’s Account Documents,
28
                                                -16-
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 1   capable at most of receiving a single NSF Fee (if AAFCU returned it) or OD Fee (if
 2   AAFCU paid it).
 3         70.    AAFCU itself also understood the transaction to be a single transaction.
 4         C.     The Imposition of Multiple Fees on a Single Transaction Violates
 5                AAFCU’s Express Promises and Representations
 6         71.    The Account Documents provide the general terms of Plaintiff’s
 7   relationship with AAFCU and makes explicit promises and representations regarding
 8   how transactions will be processed, as well as when NSF Fees and OD Fees may be
 9   assessed.
10         72.    AAFCU’s Account Agreement states at page 5, “We assess a fee for each
11   item that we either pay, which results in an overdraft, or do not pay, which would have
12   resulted in an overdraft had we paid it.” (Emphasis added.) (Ex.2 “Account
13   Agreement”) In other words, AAFCU uses the singular “a fee” not the plural “multiple
14   fees.” Further, it does not state “per each presentment of an item” but rather states per
15   “item.” AAFCU also does not state that it ever will charge both “an NSF fee and an
16   overdraft fee,” for an item. AAFCU then says in its Account Contract to refer to the
17   separate Fee Schedule for a listing of fees, which is updated periodically.
18         73.    At all times during the relevant class period in this lawsuit, meaning up
19   until the Fee Schedule dated March 1, 2020, became effective, AAFCU’s Fee
20   Schedules were consistent that the charge would be for “each check” or “each ACH
21   transaction” and not “for each presentment of a check” or “each presentment of an
22   ACH transaction” For example, the Fee Schedule effective in June 2015 states:
23

24

25         74.    Further, its Bounce Protection description further underscored this by
26    stating that AA Credit Union charges a $25 fee per item” as follows:
27

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 1          75.   As can be seen, it states “AA Credit Union charges a $25 fee per item
 2    returned using this service.” It does not state “AA Credit Union charges a $25 fee
 3    per presentment of an item returned using this service.”
 4          76.   Only with its Fee Schedule effective as of March 1, 2020 did AAFCU
 5    change its contractual term to allow itself to charge an NSF fee “per presentment” of
 6    the same item, as follows:
 7

 8

 9

10          77.   Prior to that change in contract, AAFCU had contracted to charge the fee
11    “per item” or “per each” item and not “per presentment of the item” or “per retry of
12    the item.” A “re-presentment” or a “retry” of an “item” does not change it into a
13    new or different “item.” It is still the same “item” being presented by the same
14    merchant in the same dollar amount, not a new “item.” An electronic item
15    reprocessed after an initial return for insufficient funds, especially through no action
16    by the customer, cannot and does not fairly become a new, unique additional “item”
17    for fee assessment purposes. Only when its Fee Schedule changing the terms of the
18    contract to each presentment of the item did it arguably contract to charge an NSF
19    Fee for the same item every time it was presented.
20          78.   The Account Documents contained explicit terms indicating that OD
21    Fees and NSF Fees will only be assessed once per transaction or item, when in fact
22    AAFCU regularly charges two or more fees per transaction or item even though a
23    customer only requested the payment or transfer once.
24          79.   There is zero indication anywhere in the Account Documents that the
25    same item is eligible to incur Multiple Fees.
26   ///
27   ///
28
                                                -18-
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 1          80.   Even if AAFCU reprocesses an instruction for payment, it is still the
 2    same item. AAFCU’s reprocessing is simply another attempt to effectuate an
 3    accountholder’s original order or instruction.
 4          81.   The provisions referenced above never discuss a circumstance where
 5    AAFCU may assess multiple fees for a single check or ACH transaction that was
 6    returned for insufficient funds and later reprocessed one or more times and returned
 7    again.
 8          82.   In sum, AAFCU promises that one fee will be assessed per electronic
 9    payment or check, and these terms must mean all iterations of the same instruction
10    for payment. As such, AAFCU breached the contract when it charged more than one
11    fee per item.
12          83.   Taken together, the representations and omissions identified above
13    convey to customers that all submissions for payment of the same transaction will be
14    treated as the same item, which AAFCU will either authorize (resulting in an
15    overdraft item) or reject (resulting in a returned item) when it decides there are
16    insufficient funds in the account. Nowhere does AAFCU disclose that it will treat
17    each reprocessing of a check or ACH payment as a separate item, subject to
18    additional fees, nor do AAFCU customers ever agree to such fees.
19          84.   Banks and credit unions like AAFCU that employ this abusive practice
20    know how to plainly and clearly disclose it. Indeed, other banks and credit unions
21    that do engage in this abusive practice disclose it expressly to their accountholders—
22    something AAFCU never did
23          85.   Air Academy Federal Credit Union contracts for its NSF fee as follows:
24                       “$25.00 per presentment.”
25   See, https://www.aafcu.com/fees.html (emphasis added) [last visited on or about
26   March 17, 2020].
27   ///
28
                                                -19-
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 1         86.    Central Pacific Bank contracts unambiguously:
 2

 3
                  Items and transactions (such as, for example, checks and
                  electronic transactions/payments) returned unpaid due to
 4                insufficient/non-sufficient (“NSF”) funds in your account, may be
 5                resubmitted one or more times for payment, and a $25 fee will
                  be imposed on you each time an item and transaction
 6                resubmitted for payment is returned due to
 7                insufficient/nonsufficient funds.

 8
     See, https://www.cpb.bank/media/1618/fee-001-rev-10-24-2019-misc-fee-
 9
     schedule.pdf (emphasis added) [last visited on or about March 17, 2020].
10
           87.    Community Bank, N.A. unambiguously contracts:
11
                  You may be charged more than one Overdraft or NSF Fee if a
12
                  merchant submits a single transaction multiple times after it
13                has been rejected or returned.
14   See, https://cbna.com/u/header/2019-Overdraft-and-Unavailable-Funds-Practices-
15   Disclosure-FINAL-1.14.2020.pdf (emphasis added) [last visited on or about March
16   17, 2020].
17         88.    Delta Community Credit Union contracts unambiguously as follows:
18                      “$30 per presentment.”
19   See, https://www.deltacommunitycu.com/home/fees.aspx (emphasis added) [last
20   visited on or about March 17, 2020]. Further, in its Account Contract, Delta
21   unambiguously states as follows:
22
                  The Credit Union reserves the right to charge you an
23
                  overdraft/insufficient funds fee if you write a check or initiate an
24                electronic transaction that, if posted, would overdraw your
                  Checking Account. Note that you may be charged an NSF fee
25
                  each time a check or ACH is presented to us, even if it was
26                previously submitted and rejected.
27

28
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 1   See, https://www.deltacommunitycu.com/home/forms/member-savings-services-
 2   disclosures-and-agreements.aspx (emphasis added) [last visited on or about March
 3   17, 2020].
 4         88.    First Financial Bank contracts unambiguously:
 5

 6
                  Merchants or payees may present an item multiple times for
                  payment if the initial or subsequent presentment is rejected due to
 7                insufficient funds or other reason (representment). Each
 8                presentment is considered an item and will be charged
                  accordingly.”
 9

10   See, https://www.bankatfirst.com/content/dam/first-financial-
11   bank/eBanking_Disclosure_of_Charges.pdf (emphasis added) [last visited on or
12   about March 17, 2020].
13         89.    First Hawaiian Bank unambiguously contracts:
14

15                You agree that multiple attempts may be made to submit a
                  returned item for payment and that multiple fees may be charged
16                to you as a result of a returned item and resubmission.
17
     See,
18   https://www.fhb.com/en/assets/File/Home_Banking/FHB_Online/Terms_and_Condit
19   ions_of_FHB_Online_Services_RXP1.pdf (emphasis added) [last visited on or about
     March 17, 2020].
20
           90.    First Northern Credit Union unambiguously contracts its NSF fee as,
21

22         “$22.00 per each presentment and any subsequent representment(s).”
23   See, https://www.fncu.org/feeschedule/?scpage=1&scupdated=1&scorder=-
24   click_count (emphasis added) [last visited on or about March 17, 2020.
25   Further, in its Account Contract, First Northern unambiguously contracts as
26   follows:
27
                  You further agree that we may charge a NSF fee each time an
                  item is presented for payment even if the same item is
28
                                               -21-
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 1
                  presented for payment multiple times. For example, if you
                  wrote a check to a merchant who submitted the payment to us and
 2                we returned the item (resulting in a NSF fee), the merchant may
 3                re-present the check for payment again. If the second and any
                  subsequent presentments are returned unpaid, we may charge a
 4                NSF fee for each time we return the item. You understand
 5                this means you could be charged multiple NSF fees for one
                  check that you wrote as that check could be presented and
 6                returned more than once. Similarly, if you authorize a merchant
 7                (or other individual or entity) to electronically debit your account,
                  such as an ACH debit, you understand there could be multiple
 8                submissions of the electronic debit request which could result
 9                in multiple NSF fees

10
     See,

11
     (https://www.fncu.org/SecureAsset.aspx?Path=/7/Member_Agreement_November_1

12
     _2019.pdf (emphasis added) [last visited on or about March 17, 2020].

13
            92.   Glendale Federal Credit Union unambiguously contracts its NSF fee as,

14
                  “$30 per presentment.”

15
     See, https://glendalefcu.org/pdf/fees.pdf (emphasis added) [last visited on or about

16
     March 17, 2020].

17
            93.   Klein Bank contracts unambiguously:

18
                  [W]e will charge you an NSF/Overdraft Fee each time: (1) a Bill
19                Payment (electronic or check) is submitted to us for payment from
20                your Bill Payment Account when, at the time of posting, your Bill
                  Payment Account is overdrawn, would be overdrawn if we paid
21                the item (whether or not we in fact pay it) or does not have
22                sufficient available funds; or (2) we return, reverse, or decline to
                  pay an item for any other reason authorized by the terms and
23                conditions governing your Bill Payment Account. We will charge
24                an NSF/Overdraft Fee as provided in this section regardless of
                  the number of times an item is submitted or resubmitted to us
25                for payment, and regardless of whether we pay the item or
26                return, reverse, or decline to pay the bill payment.
27   ///

28
                                               -22-
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 1   See, https://kleinbankonline.com/bridge/disclosures/ib/disclose.html (emphasis
 2   added) [last visited on or about March 17, 2020].
 3          94.   Liberty Financial contracts its NSF fee unambiguously as:
 4                      “$27.00 per presentment.”
 5   See, https://liberty.financial/about/fee-schedule/ (emphasis added) [last visited on or
 6   about March 17, 2020].
 7          95.   Los Angeles Federal Credit Union contracts its NSF fee unambiguously
 8   as:
 9                      “$29 per presentment.”
10   See, https://www.lafcu.org/pdf/currentfees_bus.pdf (emphasis added) [last visited on
11   or about March 17, 2020].
12          96.   Members First Credit Union contracts unambiguously:
13

14
                  We reserve the right to charge an Non-Sufficient Funds Fee (NSF
                  Fee) each time a transaction is presented if your account does not
15                have sufficient funds to cover the transaction at the time of
16                presentment and we decline the transaction for that reason. This
                  means that a transaction may incur more than one Non-
17                Sufficient Funds Fee (NSF Fee) if it is presented more than
18                once…we reserve the right to charge a Non-Sufficient Funds
                  (NSF Fee) for both the original presentment and the
19                representment [.]
20

21
     See,

22
     http://www.membersfirstfl.org/files/mfcufl/1/file/Membership_and_Account_Agree

23
     ment.pdf (emphasis added) [last visited on or about March 17, 2020].

24
            97.   Meriwest Credit Union unambiguously contracts its fee as:

25
                        “$35.00/item per presentment”.

26
     https://www.meriwest.com/sites/www.meriwest.com/files/media/consumer_feesched.

27
     pdf (emphasis added) [last visited on or about March 17, 2020].

28
     ///
                                               -23-
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 1         98.   Partners 1st Federal Credit Union contracts unambiguously:
 2

 3
                 Consequently, because we may charge a fee for an NSF item
                 each time it is presented, we may charge you more than one
 4               fee for any given item. Therefore, multiple fees may be charged
 5               to you as a result of a returned item and resubmission regardless
                 of the number of times an item is submitted or resubmitted to us
 6               for payment, and regardless of whether we pay the item or return,
 7               reverse, or decline to pay the item.
     See, https://www.partners1stcu.org/uploads/page/Consumer_Account_Agreement.pdf
 8
     (emphasis added) [last visited on or about March 17, 2020].
 9
           99.   RBC Bank unambiguously contracts:
10

11                      “We may also charge against the Account an NSF fee for
                        each item returned or rejected, including for multiple
12                      returns or rejections of the same item.”

13   See, https://www.rbcbank.com/siteassets/Uploads/pdfs/Service-Agreement-for-
14   Personal-Accounts.pdf (emphasis added) [last visited on or about March 17, 2020].
15         100. Regions Bank contracts unambiguously:
16

17               If an item is presented for payment on your account at a time
                 when there is an insufficient balance of available funds in your
18
                 account to pay the item in full, you agree to pay us our charge for
19               items drawn against insufficient or unavailable funds, whether or
                 not we pay the item. If any item is presented again after having
20
                 previously been returned unpaid by us, you agree to pay this
21               charge for each time the item is presented for payment and
                 the balance of available funds in your account is insufficient to
22
                 pay the item.
23

24   See, https://www.regions.com/virtualdocuments/Deposit_Agreement_6_1_2018.pdf
25   (emphasis added) [last visited on or about March 17, 2020].
26         101. Tyndall Federal Credit Union lists its NSF fee as:
27                      “$28.00 per presentment (maximum 5 per day).”
28   ///
                                             -24-
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 1   See, https://tyndall.org/member_center/document_center/fee_schedule (emphasis
 2   added) [last visited on or about March 17, 2020].
 3          102. USE Credit Union contracts unambiguously:
 4

 5
                      “Fees are charged per presentment, meaning the same item is
                      subject to multiple fees if presented for payment multiple
 6                    times.”
 7   See, https://www.usecu.org/home/Files/static/documents/Schedule_of_Fees.pdf
 8   (emphasis added) [last visited on or about March 17, 2020].
 9          103. Plaintiff and the class members were harmed by these practices when
10   they were assessed such fees when they should not have been. A complete evaluation
11   of AAFCU’s records is necessary to determine the full extent of Plaintiff’s harm from
12   this practice.
13                               CLASS ACTION ALLEGATIONS

14          104. The preceding allegations are incorporated by reference and re-alleged
15
     as if fully set forth herein.
16

17          105. Plaintiff brings this case, and each of her respective causes of action, as a

18   class action pursuant to Federal Rule of Civil Procedure 23(a)(b)(1), (b)(2) and (b)(3)
19
     on behalf of the following classes:
20

21   Class One: The APPSN Class
22                    All United States residents who have or have had accounts with
23                    AAFCU who incurred an overdraft fee on a debit card transaction
24                    that was authorized into a positive available balance beginning four
25                    years preceding the filing of this Complaint and ending on the day
26                    the class certification is granted.
27   ///
28
                                                   -25-
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 1   Class Two: The California APPSN Sub-Class
 2                All California citizens who have or have had accounts with AAFCU
 3                who incurred an overdraft fee on a debit card transaction that was
 4                authorized into a positive available balance beginning four years
 5                preceding the filing of this Complaint and ending on the day the
 6                class certification is granted.
 7   Class Three: The Repeat NSF Class
 8                All United States residents who have or have had accounts with
 9                AAFCU who incurred an NSF fee more than once for the same item,
10                or an overdraft fee following an NSF fee for the same item, during
11                the period beginning four years preceding the filing of this
12                Complaint and ending one day before the effective date of the
13                March 2020 New Fee Schedule.
14   Class Four: The California Repeat NSF Sub-Class
15                All California citizens who have or have had accounts with AAFCU
16                who incurred an NSF fee more than once for the same item, or an
17                overdraft fee following an NSF fee for the same item, during the
18                period beginning four years preceding the filing of this Complaint
19                and ending one day before the effective date of the March 2020 New
20                Fee Schedule.
21         106. Excluded from the Classes are: (1) any entity in which Defendant has a
22   controlling interest; (2) officers or directors of Defendant; (3) this Court and any of
23   its employees assigned to work on the case; and (4) all employees of the law firms
24   representing Plaintiff and the Class Members.
25         107. This action has been brought and may be properly maintained on behalf
26   of each member of the Class pursuant to Federal Rule of Civil Procedure 23.
27   ///
28
                                                -26-
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 1         108. Numerosity – The members of the Class are so numerous that a joinder
 2   of all members would be impracticable. While the exact number of Class Members is
 3   presently unknown to Plaintiff, and can only be determined through appropriate
 4   discovery, Plaintiff believes that the Classes are likely to include thousands of
 5   members based on the fact that AAFCU has approximately $7.7 billion in assets and
 6   operates approximately 47 branches in 13 states.
 7         109. Upon information and belief, Defendants have databases, and/or other
 8   documentation, of its customers’ transactions and account enrollment. These
 9   databases and/or documents can be analyzed by an expert to ascertain which of
10   AAFCU ’s members have been harmed by its practices and thus qualify as Class
11   Members. Further, the Class definition identifies groups of unnamed plaintiffs by
12   describing a set of common characteristics sufficient to allow a member of that group
13   to identify himself or herself as having a right to recover. Other than by direct notice
14   by mail or email, alternatively proper and sufficient notice of this action may be
15   provided to the Class Members through notice published in newspapers or other
16   publications.
17         110. Commonality – This action involves common questions of law and fact.
18   The questions of law and fact common to both Plaintiff and the Class Members
19   include, but are not limited to, the following:
20                a.     Whether, pursuant to the Account Agreement, Defendant
21         contracted that it would charge more than one NSF fee for the same item, each
22         time that same item was presented or re-presented.
23                b.     Whether, pursuant to the Fee Schedule prior to March 2020,
24         Defendant contracted it would charge more than one NSF for the same item,
25         charging an NSF each time the same item was re-presented;
26                c.     Whether, pursuant to the Account Agreement, Defendant
27         contracted that it would charge an overdraft fee on the same item after already
28
                                                -27-
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 1         having charged an NSF fee on that same item;
 2                d.    Whether, pursuant to the Fee Schedule prior to March 2020,
 3         Defendant disclosed it would charge an overdraft fee on the same item after
 4         already having charged an NSF fee on that same item.
 5                e.    Whether the Account Agreement is ambiguous on the issue of
 6         whether Defendant would charge an NSF Fee, or an overdraft fee following an
 7         NSF fee, every time the same item was presented;
 8                f.    Whether the Fee Schedule prior to March 2020 is ambiguous on
 9         the issue of whether Defendant would charge an NSF Fee, or an overdraft fee
10         following an NSF fee, every time the same item was presented;
11                g.    Whether the Account Agreement contracted for Defendant to
12         charge an overdraft or NSF fee based on an APPSN calculation;
13                h.    Whether the Overdraft Disclosureed was ambiguous on whether
14         AAFCU would use an APPSN calculation for assessing overdraft fees;
15                i.    Whether the contracts are ambiguous on what fees will be charged
16         under what circumstances, or referred to inconsistently.
17         111. Typicality – Plaintiff’s claims are typical of all of the members of the
18    Class. The evidence and the legal theories regarding Defendant’s alleged wrongful
19    conduct committed against Plaintiff and all of the Class Members are substantially
20    the same because all of the relevant agreements between Defendant and its
21    customers, including the Account Agreement and Fee Schedules, were identical as
22    to all relevant terms, and also because, inter alia, the challenged practices of
23    charging customers for overdraft fees or NSF fees are uniform for Plaintiff and all
24    Class Members. Accordingly, in pursuing her own self-interest in litigating her
25    claims, Plaintiff will also serve the interests of the other Class Members.
26         112. Adequacy – Plaintiff will fairly and adequately protect the interests of
27    the Class Members. Plaintiff has retained competent counsel experienced in class
28
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 1    action litigation to ensure such protection. There are no material conflicts between
 2    the claims of the representative Plaintiff and the members of the Class that would
 3    make class certification inappropriate. Plaintiff and her counsel intend to prosecute
 4    this action vigorously.
 5         113. Predominance and Superiority – The matter is properly maintained as
 6    a class action under Federal Rule of Civil Procedure 23(b)(3) because the common
 7    questions of law or fact identified herein and to be identified through discovery
 8    predominate over questions that may affect only individual Class Members.
 9    Further, the class action is superior to all other available methods for the fair and
10    efficient adjudication of this matter. Because the injuries suffered by the individual
11    Class Members are relatively small, the expense and burden of individual litigation
12    would make it virtually impossible for Plaintiff and Class Members to individually
13    seek redress for Defendant’s wrongful conduct. Even if any individual person or
14    group(s) of Class Members could afford individual litigation, it would be unduly
15    burdensome to the courts in which the individual litigation would proceed. The
16    class action device is preferable to individual litigation because it provides the
17    benefits of unitary adjudication, economies of scale, and comprehensive
18    adjudication by a single court. In contrast, the prosecution of separate actions by
19    individual Class Members would create a risk of inconsistent or varying
20    adjudications with respect to individual Class Members that would establish
21    incompatible standards of conduct for the party (or parties) opposing the Class and
22    would lead to repetitious trials of the numerous common questions of fact and law.
23    Plaintiff knows of no difficulty that will be encountered in the management of this
24    litigation that would preclude its maintenance as a class action. As a result, a class
25    action is superior to other available methods for the fair and efficient adjudication of
26    this controversy. Absent a class action, Plaintiff and the Class Members will
27    continue to suffer losses, thereby allowing Defendant’s violations of law to proceed
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 1    without remedy and allowing Defendant to retain the proceeds of their ill-gotten
 2    gains.
 3         114. Plaintiff does not believe that any other Class Members’ interest in
 4    individually controlling a separate action is significant, in that Plaintiff has
 5    demonstrated above that her claims are typical of the other Class Members and that
 6    she will adequately represent the Class. This particular forum is a desirable forum
 7    for this litigation because both Defendant resides in this District. Plaintiff does not
 8    foresee significant difficulties in managing the class action in that the major issues
 9    in dispute are susceptible to class proof.
10         115. Plaintiff anticipates the issuance of notice, setting forth the subject and
11    nature of the instant action, to the proposed Class Members. Upon information and
12    belief, Defendant’s own business records and/or electronic media can be utilized for
13    the contemplated notices. To the extent that any further notices may be required,
14    Plaintiff anticipates the use of additional media and/or mailings.
15         116. This matter is properly maintained as a class action pursuant to Rule
16    23(b) of the Federal Rules of Civil Procedure in that:
17                a.      Without class certification and determination of declaratory,
18         injunctive, statutory and other legal questions within the Class format,
19         prosecution of separate actions by individual members of the Class will create
20         the risk of:
21                        (1)   Inconsistent or varying adjudications with respect to
22                individual members of the Class which would establish incompatible
23                standards of conduct for the parties opposing the Class; or
24                        (2)   Adjudication with respect to individual members of the
25                Class, which would as a practical matter be dispositive of the interests of
26                the other members not parties to the adjudication or substantially impair
27                or impede their ability to protect their interests. The parties opposing the
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 1                Class have acted or refused to act on grounds generally applicable to
 2                each member of the Class, thereby making appropriate final injunctive or
 3                corresponding declaratory relief with respect to the Class as a whole.
 4                b.     Common questions of law and fact exist as to the members of the
 5         Class and predominate over any questions affecting only individual members,
 6         and a class action is superior to other available methods of the fair and efficient
 7         adjudication of the controversy.
 8                                FIRST CAUSE OF ACTION
 9             BREACH OF CONTRACT INCLUDING THE COVENANT
10                        OF GOOD FAITH AND FAIR DEALING
11              (On behalf of the APPSN Class and Repeat NSF Fee Classes)
12         117. Plaintiff incorporates the preceding allegations by reference as if fully
13   set forth herein.
14         118. Plaintiff and AAFCU contracted for checking account and debit card
15   services, as embodied in the Account documents.
16         119. AAFCU breached the contract when it charged overdraft fees on APPSN
17   transactions and when it assessed multiple NSF Fees on the same item.
18         120. Plaintiff and members of the putative Class have performed all of the
19   obligations on them pursuant to the Consumer Account Agreement.
20         121. Plaintiff and members of the putative Class have sustained monetary
21   damages as a result of Defendant’ breach.
22         122. Under the laws of the State of California where AAFCU does business,
23   good faith is an element of every contract. Whether by common law or statute, all
24   such contracts impose upon each party a duty of good faith and fair dealing. Good
25   faith and fair dealing, in connection with executing contracts and discharging
26   performance and other duties according to their terms, means preserving the spirit –
27   not merely the letter – of the bargain. Put differently, the parties to a contract are
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 1   mutually obligated to comply with the substance of their contract in addition to its
 2   form. Evading the spirit of the bargain and abusing the power to specify terms
 3   constitute examples of bad faith in the performance of contracts.
 4          123. Subterfuge and evasion violate the obligation of good faith in
 5   performance even when an actor believes their conduct to be justified. Bad faith may
 6   be overt or may consist of inaction, and fair dealing may require more than honesty.
 7   Examples of bad faith are evasion of the spirit of the bargain, willful rendering of
 8   imperfect performance, abuse of a power to specify terms, and interference with or
 9   failure to cooperate in the other party’s performance.
10          124. AAFCU breached the covenant of good faith and fair dealing in its
11   Consumer Account Agreement through its OD and NSF Fee policies and practices as
12   alleged herein. Specifically, AAFCU’s Consumer Account Agreement misrepresents
13   to accountholders the true nature of AAFCU’s assessment of its OD and NSF Fees.
14          125. Plaintiff and members of the Classes have performed all, or substantially
15   all, of the obligations imposed on them under the Account Documents.
16          126. Plaintiff and members of the Classes have sustained damages as a result
17   of AAFCU’s breach of the contract and the covenant of good faith and fair dealing.
18                               SECOND CAUSE OF ACTION
19                                   (Money Had and Received)
20              (On behalf of the APPSN Class and Repeat NSF Fee Classes)
21          127. The preceding allegations are incorporated by reference and re-alleged
22   as if fully set forth herein.
23          128. Defendant has obtained money from Plaintiff and the Class Members by
24   the exercise of undue influence, menace or threat, compulsion or duress, and/or
25   mistake of law and/or fact.
26          129. As a result, Defendant has in its possession money which, in equity,
27   belongs to Plaintiff and the Class Members, and thus, this money should be refunded
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 1   to Plaintiff and the Class Members. Therefore, Plaintiff and the Class Members seek
 2   relief as set forth in the Prayer below.
 3                                   THIRD CAUSE OF ACTION
 4     (Violation of Unfair Competition Law, Cal. Bus. & Prof. Code §17200, et seq.)
 5    (On Behalf of the California APPSN Sub-Class and California Repeat NSF Fee
 6                                          Sub-Class)
 7          130. The preceding allegations are incorporated by reference and re-alleged
 8   as if fully set forth herein.
 9          131. AAFCU’s conduct described herein violates California’s Unfair
10   Competition Law (the “UCL”), codified as Business and Professions Code section
11   17200, et seq. The UCL prohibits and provides civil remedies for unlawful and
12   unfair competition. Its purpose is to protect both consumers and competitors by
13   promoting fair competition in commercial markets for goods and services. In service
14   of that purpose, the Legislature framed the UCL’s substantive provisions in broad,
15   sweeping language. By defining unfair competition to include “any unlawful, unfair
16   or fraudulent business act or practice,” the UCL permits violations of other laws to be
17   treated as unfair competition that is independently actionable, and sweeps within its
18   scope acts and practices not specifically proscribed by any other law.
19          132. The UCL expressly provides for injunctive relief, and also contains
20   provisions denoting its public purpose. A claim for injunctive relief under the UCL is
21   brought by a plaintiff acting in the capacity of a private attorney general. Although
22   the private litigant controls the litigation of an unfair competition claim, the private
23   litigant is not entitled to recover compensatory damages for her own benefit, but only
24   disgorgement of profits made by the defendant through unfair or deceptive practices
25   in violation of the statutory scheme or restitution to victims of the unfair competition.
26          133. As further alleged herein, AAFCU’s conduct violates the UCL’s
27   “unfair” prong insofar as AAFCU charges multiple NSF fees on a single item,
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 1   charges overdraft or NSF fees when there was enough money in the account to cover
 2   a transaction, and charges fees that were not listed in either the Account Agreement
 3   or Fee Schedule, and also charges fees on transactions for which it previously already
 4   had sequestered aside money to cover and made unavailable for other purposes.
 5   AAFCU’s conduct was not motivated by any legitimate business or economic need or
 6   rationale. The harm and adverse impact of AAFCU’s conduct on members of the
 7   general public was neither outweighed nor justified by any legitimate reasons,
 8   justifications, or motives. The harm to Plaintiffs and Class Members arising from
 9   AAFCU’s unfair practices relating to the imposition of the improper fees outweighs
10   the utility, if any, of those practices.
11          134. Further, with regard to the APPSN practice, Plaintiff alleges that conduct
12   already has been found by the Consumer Financial Protection Bureau to be both
13   “unfair” and deceptive:”
14
            A financial institution authorized an electronic transaction, which reduced a
15          customer’s available balance but did not result in an overdraft at the time of
16          authorization; settlement of a subsequent unrelated transaction that further
            lowered the customer’s available balance and pushed the account into overdraft
17          status; and when the original electronic transaction was later presented for
18          settlement, because of the intervening transaction and overdraft fee, the
            electronic transaction also posted as an overdraft and an additional overdraft
19          fee was charged. Because such fees caused harm to consumers, one or more
20          supervised entities were found to have acted unfairly when they charged fees in
            the manner described above. Consumers likely had no reason to anticipate this
21          practice, which was not appropriately disclosed. They therefore could not
22          reasonably avoid incurring the overdraft fees charged. Consistent with the
            deception findings summarized above, examiners found that the failure to
23          properly disclose the practice of charging overdraft fees in these circumstances
24          was deceptive. At one or more institutions, examiners found deceptive
            practices relating to the disclosure of overdraft processing logic for electronic
25          transactions. Examiners noted that these disclosures created a misimpression
26          that the institutions would not charge an overdraft fee with respect to an
            electronic transaction if the authorization of the transaction did not push the
27          customer’s available balance into overdraft status. But the institutions assessed
28          overdraft fees for electronic transactions in a manner inconsistent with the
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           overall net impression created by the disclosures. Examiners therefore
           concluded that the disclosures were misleading or likely to mislead, and
 2         because such misimpressions could be material to a reasonable consumer’s
 3         decision-making and actions, examiners found the practice to be deceptive.
           Furthermore, because consumers were substantially injured or likely to be so
 4         injured by overdraft fees assessed contrary to the overall net impression created
 5         by the disclosures (in a manner not outweighed by countervailing benefits to
           consumers or competition), and because consumers could not reasonably avoid
 6         the fees (given the misimpressions created by the disclosures), the practice of
 7         assessing fees under these circumstances was found to be unfair.

 8

 9         135. Consumer Financial Protection Bureau, Winter 2015 “Supervisory
10   Highlights”. AAFCU’s unfair business practices as alleged herein are immoral,
11   unethical, oppressive, unscrupulous, unconscionable and/or substantially injurious to
12   Plaintiffs and Class Members, and the general public. AAFCU’s conduct was
13   substantially injurious to consumers in that they have been forced to pay improper,
14   abusive, and/or unconscionable NSF, overdraft, and other non-contracted fees.
15         136. Moreover, AAFCU’s conduct also violates the UCL’s unlawful prong.
16   By charging overdraft fees on ATM and nonrecurring transactions, Defendant
17   violated Regulation E (12 C.F.R. §§1005 et seq.), whose “primary objective” is “the
18   protection of consumers” (§1005.1(b)) and which “carries out the purposes of the
19   [Electronic Fund Transfer Act (15 U.S.C. §§1693 et seq.), the “EFTA”] (§1005.1(b)),
20   whose express “primary objective” is also “the provision of individual consumer
21   rights” (15 U.S.C. §1693(b)). Such charges violated what is known as the “Opt-In
22   Rule” of Reg E. (12 C.F.R. §1005.17.) The Opt-In Rule states: “a financial
23   institution ... shall not assess a fee or charge ... pursuant to the institution’s overdraft
24   service, unless the institution: (i) [p]rovides the consumer with a notice in writing
25   [the opt-in notice]... describing the institution’s overdraft service” and (ii)
26   “[p]rovides a reasonable opportunity for the consumer to affirmatively consent” to
27   enter into the overdraft program (Id.) The notice “shall be clear and readily
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 1   understandable.” (12 C.F.R. §205.4(a)(1).)
 2         137. To comply with the affirmative consent requirement, a financial
 3   institution must provide a segregated description of its overdraft practices that is
 4   accurate, non-misleading and truthful, and that conforms to 12 C.F.R. § 1005.17 prior
 5   to the opt-in, and must provide its customers a reasonable opportunity to opt-in after
 6   receiving the description. The affirmative consent must be provided in a way
 7   mandated by 12 C.F.R. § 1005.17, and the financial institution must provide
 8   confirmation of the opt-in in a manner that conforms to 12 C.F.R. § 1005.17. The
 9   intent and purpose of this Overdraft Disclosure is to “assist customers in
10   understanding how overdraft services provided by their institutions operate .... by
11   explaining the institution’s overdraft service ... in a clear and readily understandable
12   way”—as stated in the Official Staff Commentary (74 Fed. Reg. 59033, 59035,
13   59037, 5940, 5948), which is “the CFPB’s official interpretation of its own
14   regulation,” “warrants deference from the courts unless ‘demonstrably irrational,’”
15   and should therefore be treated as “a definitive interpretation” of Reg E. Strubel v.
16   Capital One Bank (USA), 2016 U.S. Dist. LEXIS 41487, *11 (S.D. N.Y. 2016)
17   (quoting Chase Bank USA v. McCoy, 562 U.S. 195, 211 (2011)) (so holding for the
18   CFPB’s Official Staff Commentary for the Truth In Lending Act’s Reg Z).
19         138. Defendant has violated the unlawful prong of California’s UCL as a
20   result of violating Regulation E’s prohibitions.
21         139. As a result of AAFCU’s violations of the UCL, Plaintiffs and Class
22   Members have paid, and/or will pay improper NSF, overdraft, and other non-
23   contracted fees in the future and thereby have suffered actual loss of money and may
24   similarly suffer in the future if the misrepresentations allowed to continue. Absent
25   injunctive relief forcing AAFCU to disgorge itself of its ill-gotten gains and public
26   injunctive relief prohibiting AAFCU from misrepresenting and omitting material
27   information concerning its NSF and overdraft fee policy and other fees policy at issue
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 1   in this action in the future, Plaintiff and other existing accountholders, and the general
 2   public, will suffer from and be exposed to AAFCU’s conduct violative of the UCL.
 3                                           PRAYER
 4           WHEREFORE, Plaintiff and the Class pray for judgment as follows:
 5           1.    For an order certifying this action as a class action;
 6           2.    For compensatory damages on all applicable claims and in an amount to
 7   be proven at trial;
 8           3.    For an order requiring Defendant to disgorge, restore, and return all
 9   monies wrongfully obtained together with interest calculated at the maximum legal
10   rate;
11           4.    For statutory damages;
12           5.    For an order enjoining the wrongful conduct alleged herein;
13           6.    For costs;
14           7.    For pre-judgment and post-judgment interest as provided by law;
15           8.    For attorneys’ fees under the common fund doctrine, and all other
16   applicable law and sources; and,
17           9.    For such other relief as the Court deems just and proper.
18                               DEMAND FOR JURY TRIAL
19           Plaintiff and the Class Members demand a trial by jury on all issues so triable.
20

21   Dated: August 25, 2020                   Respectfully submitted,
22
                                              _____/S/ Taras Kick_______
23                                            Taras Kick, CA Bar No. 143379
24                                            Jeffrey C. Bils, CA Bar No. 301629
                                              THE KICK LAW FIRM, APC
25                                            815 Moraga Drive
26                                            Los Angeles, California 90049
                                              Telephone: (310) 395-2988
27                                            Facsimile: (310) 395-2088
28                                            Taras@kicklawfirm.com
                                                 -37-
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 1                                       Kevin P. Roddy, CA Bar No. 128283
 2
                                         WILENTZ, GOLDMAN & SPITZER, P.A.
                                         90 Woodbridge Center Drive, Suite 900
 3                                       Woodbridge, NJ 07095
                                         Telephone: (732) 636-8000
 4                                       Facsimile: (732) 726-6686
                                         kroddy@wilentz.com
 5
                                         Jeffrey D. Kaliel, CA Bar No. 238293
 6
                                         Sophia G. Gold, CA Bar No. 307971
 7                                       KALIEL PLLC
                                         1875 Connecticut Ave. NW 10th Floor
 8
                                         Washington, D.C. 20009
 9                                       Telephone: (202) 350-4783
                                         jkaliel@kalielpllc.com
10
                                         sgold@kalielplllc.com
11
                                         Attorneys for Plaintiff Sylvia Varga and the
12
                                         Putative Class
13

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